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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,            §
                                        §
       Plaintiffs,                      §
 v.                                     §     Civil Action No. 4:20-cv-00957-SDJ
                                        §
 GOOGLE LLC,                            §
                                        §
       Defendant.                       §




                   GOOGLE LLC’S REPLY IN SUPPORT OF
           ITS OMNIBUS MOTION TO EXCLUDE EXPERT TESTIMONY
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         In further support of its Motion to Exclude Expert Testimony, Google submits this Reply.

   I.       Overview of Reply

         The Plaintiff States’ Response to Google’s Motion to Exclude (“Resp.”) rests on false

premises. First, it sets up a straw man, falsely claiming Google’s motion attacked the credentials

of the States’ experts, Resp. at 1-5, when in fact the motion challenges the relevance, reliability,

and admissibility of each expert’s testimony, see Google’s Motion to Exclude Expert Testimony

(“Mot.”). Second, it complains that Google pressed the experts to provide truthful, responsive

answers to deposition questions. Resp. at 3. A fundamental requirement to admit expert testimony

is that it be “helpful,” Fed. R. Evid. 702, and expert testimony is not helpful when it is evasive,

argumentative, or obstructs the truth. See Mot. at 15-16. Ironically, the Response then accuses

Google of mischaracterizing the experts’ opinions and urges the Court to evaluate their reports,

instead of their sworn testimony. Resp. at 4. But sworn testimony provides the best indication of

what experts seek to offer at trial. Here, that testimony does not meet the standards of admissibility.

         Finally, where there is no evidence to support the opinions as given, the Response revises

them outright, see infra § V (defending opinion DeRamus does not offer), § VIII (asserting Pathak

has opinions the witness disclaimed), § VI (citing methodology Chandler does not employ), § XI

(offering an entirely new declaration and opinions for Gans), or backfills them with even more

ipse dixits from counsel, see infra § VII (asserting material Shafiq failed to disclose was only of

“medium” importance), § V (asserting DeRamus’s calculations would have been higher had he

done them correctly). None of this meets the States’ burden to show these opinions are admissible.

   II.      Reply to Legal Standards

         The Response concedes that the trial court’s duty is to conduct a rigorous, gatekeeping

examination of the admissibility of expert opinions. Resp. at 4-5; see also, e.g., United States v.


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Barton, 909 F.3d 1323, 1331 (11th Cir. 2018) (Supreme Court precedent and Rule 702 compel

“district courts to perform the critical gatekeeping function concerning admissibility of expert …

evidence.”). 1 The importance of this function “cannot be overstated.” Id. The trial judge “must

determine whether the expert testimony is both reliable and relevant,” Burleson v. Texas Dep’t. Of

Criminal Justice, 393 F.3d 577, 583-84 (5th Cir. 2004), and must assess whether the expert’s

reasoning “properly can be applied to the facts at issue,” Daubert v. Merrell Dow Pharms., 509

U.S. 579, 592-93 (1993).

          The Response cites United States v. Perry, 35 F.4th 293 (5th Cir. 2022), to suggest that

“the rejection of expert testimony is the exception rather than the rule,” Resp. at 5, but Perry also

requires the Court to exercise its gatekeeping function, 35 F.4th at 329 (“It is an abuse of discretion

for a district court” to fail to conduct a Daubert inquiry.) (citing Carlson v. Bioremedi Therapeutic

Sys., Inc., 822 F.3d 194, 201 (5th Cir. 2016) (reversing for failure to conduct a Daubert inquiry)).

Nothing in Perry allows this Court to set aside its gatekeeping role and admit inadmissible,

irrelevant, and unreliable opinions simply because they can be cross-examined. See Resp. at 5.

Nor may the Court “abandon the gatekeeping function,” Sardis v. Overhead Door Corp., 10 F4th

268, 282 (4th Cir. 2021), by leaving the assessment of reliability to the jury. As the Supreme Court

emphasized in Daubert, cross-examination (and directed verdicts) may be “appropriate safeguards

where the basis of scientific testimony meets the standards of Rule 702,” but they are no substitute

for the Court’s threshold analysis. 509 U.S. at 592-93.

          The citation to Pipitone v. Biomatrix, Inc., 288 F.3d 239 (5th Cir. 2002), Resp. at 5, also

supports Google’s motion. Pipitone held that “the district court’s responsibility is ‘to make certain

that an expert, whether basing testimony upon professional studies or personal experience,



1
    Unless otherwise indicated, emphasis is added, citations are omitted, and quotes are cleaned up.

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employs in the courtroom the same level of intellectual rigor that characterizes the practice of an

expert in the relevant field.” 288 F.3d at 244 (quoting Kumho Tire Co. v. Carmichael, 526 U.S.

137, 152 (1999)). Applying these factors, the Court upheld the exclusion of an expert whose

opinion was irrelevant because it did not tend to make “any fact more or less probable.” Id. at 245.

In fact, district courts in the Fifth Circuit routinely exclude expert testimony that falls short of the

requirements for admission, 2 and the Fifth Circuit regularly upholds those decisions. 3

    III.      Dr. Weinberg’s Opinions Should Be Excluded.

           The Response repeats Dr. Weinberg’s inadmissible opinions, see Resp. at 40-43, but that

he has many opinions does not provide a basis to admit any of them. What the States must prove

is that Google committed deceptive acts. To be relevant to that issue, an expert opinion must make

a deceptive act “more or less probable than it would be without the evidence.” Fed. R. Evid. 401.

None of Dr. Weinberg’s opinions do this. The contentions that Google’s actions “led to a higher

win rate” for its customers, Resp. at 41, or lowered win rates for rival exchanges, id., do not make

it more or less probable that a deceptive act occurred in any Google auction. See Mot. at 18-26.

The same is true of the “ecosystem” opinion. An ecosystem is not an act, and opinion evidence on

this point is not relevant to show any deceptive act by Google.

           Google’s motion asserted four grounds to exclude Dr. Weinberg’s opinions: (i) the law

prohibits an expert from testifying that conduct was deceptive, (ii) an expert cannot speculate on

what was material with no basis to support the opinion, (iii) an expert cannot speculate about the



2
  See, e.g., Yates-Williams v. El Nihum, 2011 WL 1157378, at *11-20 (S.D. Tex. Mar. 24, 2011);
In re Pool Products Distrib. Mkt. Antitrust Litig., 166 F.Supp.3d 654, 673-78 (E.D. La. 2016).
3
  See, e.g., Diggs v. Citigroup, Inc., 551 Fed. App’x 762, 765 (5th Cir. 2014); Johnson v. Arkema,
Inc., 685 F.3d 452, 467-69 (5th Cir. 2012); Knight v. Kirby Inland Marine, Inc., 482 F.3d 347, 355
(5th Cir. 2007); Guile v. United States, 422 F.3d 221, 227 (5th Cir. 2005); El Aguila Food Prod’s,
Inc. v. Gruma Corp., 131 Fed. App’x 450, 453 (5th Cir. 2005); Moore v. Ashland Chemical, Inc.,
151 F.3d 269, 279 (5th Cir. 1998); Viterbo v. Dow Chem. Co., 826 F.2d 420, 422 (5th Cir. 1987).

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 state of mind of any party, and (iv) his “all auctions” opinion was an unsupported ipse dixit. Mot.

 at 18-32. The Response does not establish these opinions are relevant, reliable, and not prejudicial,

 so the Court should exclude them under Rules 401, 402, 403, and 702.

         Turning to the first ground, namely, his attempts to testify to legal conclusions, the States

 concede that “an opinion that a certain set of facts satisfies a legal definition can be an improper

 legal conclusion,” but suggest they can cure this by reframing the questions they ask at trial. Resp.

 at 43-44. Not so. The question is whether Dr. Weinberg seeks to offer inadmissible opinions on

 the ultimate issue, namely, that Google “misled” advertisers, gave disclosures that were

 “insufficient,” was “exceptionally misleading,” or was “deceptive.” Mot. at 20, n.20 (listing

 conclusory opinions offered on ultimate issues). These opinions are not only unhelpful to the jury,

 Fed. R. Evid. 702(a), they are impermissible legal conclusions. Whether something is deceptive is

 a legal term of art that only the Court (not any expert) can define. Here, the issue is even more

 problematic: Dr. Weinberg is not a lawyer and read none of the relevant statutes, so he has no idea

 how the laws of the 17 Plaintiff States define what is “deceptive,” raising the prospect that this

 evidence (if admitted) would affirmatively mislead the jury.

        As to the second ground, his attempt to testify to materiality, the States offer nothing other

 than the bare assertion that his opinions are “factual” because he links his opinions to “auction

 theory.” Resp. at 48. This avoids the point. Materiality is a legal term of art. See Mot. at 22. It is

 also an issue determined from the perspective of a reasonable consumer, see Mot. at 22-23, a topic

 about which Dr. Weinberg has no relevant expertise. He is an auction theorist, see Resp. at 48, an

 academic who has “definitely not worked in ad publishing” and has “never worked on ad buying.”

 See Mot. Ex. 1 (Weinberg Depo. Tr.) 44:2-3, 44:24-25. Neither has he interviewed a single digital




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 advertiser or publisher. Id. at 87:25-88:8. The States’ Response fails to demonstrate any reliable

 basis for Dr. Weinberg’s speculative opinions about materiality.

        The third ground concerns his prohibited attempt to testify to the states of mind of Google

 or participants in its auctions. Unable to refute the black-letter law holding that opinions on intent

 and state of mind are not admissible, see Mot. at 25, the States assert that “Normal people in

 everyday conversation talk about other people’s intent or beliefs without actually claiming to be a

 mind reader.” Resp. at 49. Normal people also relay hearsay in everyday conversation, but that

 does not make it admissible. Expert testimony that evaluates state of mind is within the province

 of the jury and is entirely improper. See Mot. at I(F). All such opinions must be excluded.

        The States’ defenses of the “all auctions” opinion confirms its speculative nature, lacking

 the reasonable support Rule 702 requires. As revised in the States’ Response, Dr. Weinberg’s

 theory is that (1) “any participants who suspected the auction rules deviated from a sealed second-

 price auction would change their behavior in all auctions because they would have no way of

 knowing which auction would be affected by Google’s conduct,” and (2) “even if participants do

 not know about Google’s conduct, their choices … are based on prior experience and the rules as

 they understand them.” Resp. at 50. This recitation proves the point: Dr. Weinberg is speculating

 about what Google’s customers understood and what they might have done differently in a “but

 for” world. But Dr. Weinberg admits he has no factual basis for these speculations: he interviewed

 no ad buyers or ad sellers, has never worked in the industry, and has no evidence any advertiser

 joined the ecosystem because of the alleged deception. Mot. at 27. Making matters worse, while

 Dr. Weinberg contends that it was Google’s use of the Reserve Price Optimization (RPO),

 Dynamic Revenue Sharing (DRS), and Bernanke algorithms that allegedly made the ecosystem

 “deceptive,” he performed no study to determine in which auctions these algorithms ran. Having




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 quantified nothing, he has no reliable basis to claim that “every single auction” was affected,

 regardless of whether the algorithms ran or not. The Fifth Circuit and courts within it exclude such

 impermissible, unfounded speculation. Mot. at 29 n.22. The Court should do the same here.

          Dr. Weinberg’s second “all auctions” assertion fares no better. This claim is based on just

 two anecdotes he cites                            . See Resp. at 53. But the Response fails to show

 how these two anecdotes—out of               of auctions—constitute a sufficient basis to support his

 conclusion that all auctions were affected. The States cite no case allowing an expert to extrapolate

 from just two anecdotes to draw an otherwise unsupported conclusion about a general trend. An

 observation of “some” is never sufficient to support a conclusion of “all.” See Mot. at 30-31.

          To salvage Dr. Weinberg’s inadmissible opinions, the States argue that Google’s objection

 goes to the weight or credibility of the evidence. See Resp. at 54-55. But an opinion cannot have

 any weight unless it is first shown to be admissible because it is reliable, relevant, and helpful. Dr.

 Weinberg’s opinions do not meet these standards. The Court should exclude them entirely.

    IV.      Mr. Andrien’s Opinions are Unsupported and Measure the Wrong Thing.

          Google moved to exclude business and litigation consultant Jeffrey Andrien because his

 opinions are irrelevant, unhelpful, unreliable, and unduly prejudicial. Mot. at 33-34. Each ground

 remains a basis for excluding Mr. Andrien’s opinions.

          Experts cannot offer civil penalty figures to the jury. See id. at 48-49. Mr. Andrien’s entire

 penalty opinion should be excluded on that basis alone. The remaining arguments address other

 reasons why all of Mr. Andrien’s opinions must be excluded.

    A. Mr. Andrien’s Opinions That Google Violated the DTPA Are Inadmissible Legal
       Conclusions.

          Mr. Andrien’s conclusion that each of the              of AdX auctions within his data set

 violated the States’ DTPAs is an inadmissible legal opinion. See United States v. Williams, 343



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 F.3d 423, 435 (5th Cir. 2003) (Rule 704(a) “prohibits any witness, expert or lay, from testifying to

 a legal conclusion.”). The States protest that Mr. Andrien merely assumed liability and then

 performed calculations like many damages experts do, see, e.g., Resp. at 67, but his report and

 testimony give the game away. Mr. Andrien is no mere quantum expert. He opines that because

 Google conducted             of auctions, it violated state law          of times—declaring each

 auction a violation of law. See, e.g., Mot. Ex. 8 (Andrien Depo. Tr.) at 162:5-6 (“I know auctions

 were manipulated and therefore violations.”); id. at 36:15-37:5 (“So I do intend to offer opinions

 on the number of violations.”); Mot. Ex. 9 (Andrien Rpt.) ¶11(d) (purporting to count DTPA

 “violations”). The claim that Mr. Andrien is merely “leveraging his expertise to help the jury” by

 offering a “factual” opinion that happens to “embrace” an “ultimate issue, Resp. at 65-67, violates

 Rule 704. In fact, the Rule prohibits exactly what Mr. Andrien seeks to do; namely, to “tell the

 [factfinder] what result to reach.” Robinson v. Am. Multi-Cinema, Inc., 2021 WL 2213376, at *3

 (E.D. La. May 17, 2021). No witness can testify that a defendant violated the DTPA even once—

 much less          of times. See id. Mr. Andrien is no exception.

    B. Mr. Andrien’s Auction Analysis is Flawed and Unreliable.

        To start, Mr. Andrien counts the wrong thing. While claiming to count statutory violations,

 Mr. Andrien actually counts AdX auctions—all of them, regardless of whether they involved an

 allegedly deceptive algorithm. See Mot. at 37. He makes no effort to determine how many of the

 total auctions he counted included an allegedly deceptive act—even though that is the central fact

 the States must prove under their DTPAs. The States admit such information was available, Resp.

 at 59 n.22 (citing evidence that “RPO applied to          of AdX auctions and       for DRS”), but

 Andrien disregards it, dooming his “all auctions” opinion. See Mot. at 9 (citing Knight, 482 F.3d

 at 355 (reliability applies to “all aspects of an expert’s testimony: the methodology, the facts

 underlying the expert’s opinion, the link between the facts and the conclusion”)). Mr. Andrien’s

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 false and unsupported premise that all auctions are a proxy for a deceptive act, Resp. at 60, lacks

 any evidence to show it is reliable, particularly when: (i) the States admit Mr. Andrien disregarded

 all evidence to the contrary, and (ii) Dr. Weinberg (the expert Mr. Andrien purports to rely on for

 his “all auctions” inference) lacks any evidence to support that conclusion. See Mot. at 25-26

 (explaining that Dr. Weinberg does not know how many transactions were affected by RPO, DRS,

 or Bernanke and cannot identify even one sale of an ad impression that was affected by them).

       The States now distance themselves from Mr. Andrien’s multi-             -violation calculation,

 reframing it as an “upper bound.” Resp. at 67. But it is no more reliable to declare that Mr.

 Andrien’s “assumption that auctions equal violations sets an upper bound on the number of

 violations.” Id. Mr. Andrien has nowhere established the required link between the facts or data

 considered (the number of auctions) and the conclusion he expresses (that each auction represents

 a deceptive act or practice violating a DTPA). His ipse dixit leap between the two is exactly what

 General Electric v. Joiner, 522 U.S. 136 (1997), forbids. See Mot. at 10. Mr. Andrien leaped from

 what he was provided—(1) a list of auctions, (2) dates on which auction mechanics ran on some

 but not all of them, and (3) an unproved and unsupported assumption that all auctions were

 “indirectly affected,” Resp. at 67—to the opinion that every auction violated a DTPA, including

 those where no algorithm ran. The analytical gap between the data and the conclusion is simply

 too great. Mr. Andrien cannot bridge it with his ipse dixit. See Joiner, 522 U.S. at 146. This opinion

 must be excluded under Rule 702. See Williams, 343 F.3d at 435.

       Mr. Andrien’s climactic flaw is using data on internet usage to conjure conclusions about

 AdX auctions in each state. See Mot. at 42-43. He took his count of total auctions and allocated

 them not based on the states in which they occurred but instead based on census data reflecting

 how many people have internet access. Id. Missing from that method is any reliable basis to infer




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 that consumer internet access, which is used for many things and used differently by each person,

 remotely approximates a measurement of ad auctions in each state, the alleged DTPA violation

 Mr. Andrien claims to quantify. Put directly, the fact that someone buys a movie in Idaho does not

 establish a deceptive ad auction occurred in Idaho. And the fact that a lawyer in Texas accessed

 Westlaw for legal research over the web does not prove an ad auction occurred when she did so.

 Mr. Andrien performed no work to demonstrate the inferred connection was valid or reliable.

 Joiner requires that this ipse dixit be excluded. 522 U.S. at 146.

       Unable to prove an adequate link between the data and the conclusion drawn, the States

 appeal to false logic: “No web surfer, no auction.” Resp. at 61. This quip does not cure the proof

 gap. As shown above, a household with the ability to surf the web is not a proxy for an auction.

 And there is a profound risk of confusion and possible prejudice, Fed. R. Evid. 403, in admitting

 it. No data or analysis shows online auctions occur in a 1:1 (or any) proportion to the number of

 household internet users in each state. The Response would have the Court take Mr. Andrien’s

 word that the string of unconnected inferences from auctions → to household internet usage → to

 deceptive acts generally → to deceptive acts in particular holds true. But he has not demonstrated

 it. And he has no data to support it. “Without more than credentials and a subjective opinion, an

 expert’s testimony that ‘it is so’ is not admissible.” Hathaway v. Bazany, 507 F.3d 312, 318 (5th

 Cir. 2007).

    C. Mr. Andrien Cannot Offer Any Penalty Figure to the Jury, and Certainly Not One
       Based on Ipse Dixit and an Incorrect Legal Standard Created by States’ Counsel.

         Mr. Andrien’s penalty calculation is also inadmissible. The States misframe Google’s

 challenge as a quibble over how to distill conflicting evidence into the form of an economic

 calculation. Resp. at 63. Not so. Google’s motion shows that Mr. Andrien did not apply any reliable

 economic methodology at all. Mot. at 40. He cannot explain—because the field of economics


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 cannot explain—how a company’s revenue, divorced from costs, could ever approximate its

 incremental profits from an activity. Id. Courts regularly reject revenue as an incomplete and

 overstated calculation of profit and benefits. See, e.g., Holt Atherton Indus., Inc. v. Heine, 835

 S.W.2d 80, 84 n.1, 85 (Tex. 1992) (Lost profits “must be predicated on one complete calculation”

 of “lost net profit, not gross profits.”); Hunter Bldgs. & Mfg., L.P. v. MBI Global, L.L.C., 436

 S.W.3d 9, 18 (Tex. App.—Houston [14th Dist.] 2014, no pet.) (same); Meaux Surface Prot., Inc.

 v. Fogelman, 607 F.3d 161, 171 (5th Cir. 2010) (holding that in assessing lost profits, “the proper

 measure is lost net profits”). The States do not come to Mr. Andrien’s defense on this point because

 his analysis departs so far from his field of expertise that it is not defensible. Resp. at 62 (failing

 to address how revenue could ever be a proxy for incremental benefit).

         Worse still, Mr. Andrien’s penalty analysis fails to track any of the DTPA statutes. The

 States offer no support for their inference that an expert can offer the jury a penalty calculation—

 that is, a recommendation on the quantum of civil penalties, see, e.g., Mot.41—that rests on an

 admittedly incomplete analysis of controlling statutory factors. The legal standards Mr. Andrien

 applied (because States’ counsel told him to, see id. at 35) are both over- and under-inclusive, and

 he privileged a single factor of “deterrence” over others, ignoring some factors entirely. See Resp.

 at 69. This is the wrong legal standard. E.g., YETI Coolers, LLC v. RTIC Coolers, LLC, 2017 WL

 429210, at *2 (W.D. Tex. Jan. 28, 2017) (“Courts will exclude expert testimony when it relies on

 an incorrect legal standard.”). And the danger of confusing the issues and misleading a jury (if

 there is a jury), is extreme given that the State statutes are not uniform in directing the factfinder

 to consider deterrence at all. 4


 4
   The States’ hodgepodge of state-level legal decisions do not prove otherwise. Resp. at 69-70
 n.26. All but two do not involve DTPA penalties. See, e.g., id. at 69 (citing Dahlen v. Landis, 314
 N.W.2d 63, 69 (N.D. 1981) (farm laborer suit for punitive damages arising from personal injuries
 sustained during a roadside altercation)).

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     V.      Dr. DeRamus’ Improper Rebuttal Opinion Also Measures the Wrong Thing.

          Google set forth many reasons to exclude Dr. DeRamus’s arbitrary penalty calculations.

 Mot. at 47-61. The Response highlights their infirmity and fails to establish their admissibility.

     A. Plaintiffs Cannot Defend Dr. DeRamus’s Civil-Penalty Calculations.

          The law prohibits an expert from offering calculations of civil penalties. Mot. at 48-49. The

 Response cites no cases to refute this. Instead, it offers civil penalty cases where expert testimony

 was relevant to a question of fact, or that address entirely unrelated questions. See Resp. at 75. 5

 None of this allows Dr. DeRamus to tell the factfinder what it should award as a penalty.

                 1. Dr. DeRamus’s Methodologies are Irrelevant and Unreliable.

          The Response does not dispute that Plaintiffs’ DTPA claims regarding DRS, RPO, and

 Bernanke are nondisclosure claims or that Dr. DeRamus measures the total expected benefit from

 the programs in the aggregate, rather than individually. See Mot. at 49-51. Ignoring this, the

 Response instead asserts Google “would not have rolled the programs out if it had to disclose

 them.” Resp. at 76. This is not a basis to admit Dr. DeRamus’s opinion because that is not his

 opinion. See Mot. Ex. 13 (DeRamus Depo. Tr.) at 166:4-9 (admitting such a claim would “go[]

 beyond the four corners of [his] report”). If Dr. DeRamus did offer that opinion, it would be

 inadmissible for lack of supporting evidence. Not one of Plaintiffs’ experts opines that Google

 would not have rolled out the programs at issue if it had to disclose them in detail, nor can they,


 5
   See Sierra Club v. El Paso Gold Mines, Inc., 2003 WL 25265873, at *6-7 (D. Colo. Feb. 10,
 2003) (admitting expert opinions on number of violations and EPA’s methodology for calculating
 penalties); SEC v. Ripple Labs, Inc., 2024 WL 3730403, at *8 & n.10 (S.D.N.Y. Aug. 7, 2024)
 (allowing expert to summarize unlawful contracts, not quantify penalties); Commonwealth v. TAP
 Pharma. Prods., Inc., 36 A.3d 1197, 1290 (Pa. Comm. Ct. 2011) (in bench trial, court allowed
 expert to count transactions but “declined to adopt” his penalty calculations.); see also Cottonwood
 Enviro. Law Ctr. v. Edwards, 2021 WL 5988554, at *7 (D. Mont. Dec. 17, 2021) (allowing civil
 penalties claim to proceed without expert evidence); United States ex. Rel. Suter v. Nat’l Rehab
 Partners Inc., 2007 WL 1597943, at *1 (D. Idaho June 1, 2007) (addressing whether defendants
 would be prejudiced by a change in plaintiffs’ expert analysis).

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 as Plaintiffs’ auction expert himself admits that RPO and DRS were disclosed. Mot. Ex. 2

 (Weinberg Rpt.) ¶¶ 197, 274. The Response’s speculation is no basis to admit an analysis relying

 on opinions that Dr. DeRamus and the States’ other experts do not have.

        The Response admits Dr. DeRamus copied and pasted the “expected benefit” estimates he

 offers wholesale from documents Google produced. Resp. at 77. This is not admissible or reliable.

 Mot. at 52-53. In fact, Dr. DeRamus was excluded in another case because he did the same thing.

 See ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 292-93 (3d Cir. 2012) (upholding order

 excluding DeRamus opinion relying on internal company documents because he lacked any basis

 to show documents were reliable).

        The Response likewise supplies no basis for Dr. DeRamus’s 10-33% “probability of

 detection” estimate, an opinion that covers a period of more than 20 years. Resp. at 80. As Google

 explained, the only studies plausibly supporting a probability of detection as low as 10% are those

 finding 10-15% annual probabilities. Mot. at 53-54. Such studies do not “fit” with an analysis that

 spans 20 years, particularly since Dr. DeRamus does not adjust for time. Plaintiffs respond by

 pointing to another reason those studies do not support a probability-of-detection estimate in this

 case, Resp. at 80, merely increasing the “analytical gap between the studies on which he relied and

 his conclusions.” Knight, 482 F.3d at 355.

        Dr. DeRamus’s event study of Alphabet’s stock price, offered as a purported basis for an

 appropriate penalty to assess against Google, is unsupported by law or economics. Plaintiffs set up

 a strawman, rebutting the unmade argument that “event studies are per se unreliable.” Resp. at 81-

 82. Google argued that event studies are never countenanced outside the securities fraud context

 (i.e., outside of cases where the impact on stock price is the very question at issue). Mot. at 54-55.

 Plaintiffs nevertheless point to securities fraud cases in defending the relevance of event studies.




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 See Resp. at 85-86. Similarly, in defending Dr. DeRamus’s use of a rule of thumb for statistically

 significant evidence of causation as a proxy for the sanction necessary for shareholders to “notice”

 or “take action,” see Mot. at 58-59, Plaintiffs cite instances in which that rule of thumb was used

 as a causation threshold, see Resp. at 85, which misses the point entirely. Finally, Plaintiffs admit

 that Dr. DeRamus’s study addresses non-party Alphabet’s stock price, not Google’s. Google’s

 argument was that (i) such studies are never used in economics to measure optimal sanctions, a

 point Dr. DeRamus admits, see Mot. at 55, and (ii) this study measured the effect on Alphabet, a

 non-party whose stock price is irrelevant to how to punish its subsidiary, as to which Dr. DeRamus

 asserts—without the support of any evidence—that his calculation would have been higher if he

 focused only on Google. Resp. at 85-86. Whether another methodology would have arrived at a

 higher or lower result makes no difference to the Rule 702 inquiry, which focuses “solely on

 principles and methodology, not on the conclusions that they generate.” Daubert, 509 U.S. at 595.

                2. Plaintiffs’ “No Harm” Penalty Argument Proves Google’s Point.

        As a matter of law, punitive sanctions like civil penalties must be calculated by reference

 to the alleged quantum of harm. Mot. at 61. The Response musters not a single case from any of

 the 17 Plaintiff States that admits in evidence a harm-free calculation of civil penalties, punitive

 damages, or other monetary sanctions. The best the States can do is to cite a case from California,

 see Resp. at 88 (citing People v. Johnson & Johnson, 292 Cal. Rptr. 3d 424 (Cal. Ct. App. 2022)),

 but that case proves Google’s point. The $302 million penalty the court allowed rested on proof of

 severe harm caused by misrepresented medical devices including “debilitating, chronic pain” that

 “destroy[ed] (sometimes permanently) [patients’] sexual, urinary, and defecatory functions.”

 Johnson & Johnson, 292 Cal. Rptr. at 472. The States cite no case (because there is none) that

 would allow imposition of multi-billion-dollar penalties untethered to any proof of actual harm.




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 Lacking proof of harm (much less a reliably measured quantum of harm), these opinions are

 irrelevant and unreliable as a matter of law.

    B. Dr. DeRamus’s Opinions are Inadmissible in Plaintiffs’ Case in Chief and Thus
       Inadmissible at Summary Judgment.

          Plaintiffs cannot offer Dr. DeRamus’s rebuttal opinions in their case in chief or to survive

 summary judgment. It “should go without saying that as a rebuttal witness, [an expert’s] testimony

 would not be admissible in the plaintiffs’ case in chief” at trial, Breen v. Ford Motor Co., 2007

 WL 4856864, at *1 (N.D. Miss. May 30, 2007), or at summary judgment, Travelers Prop. Cas.

 Co. of Am. v. Ocean Reef Charters LLC, 71 F.4th 894, 908 (11th Cir. 2023) (“Travelers cannot

 rely on potential testimony from Captain Ahlstrom to avoid summary judgment because it only

 disclosed him as a rebuttal expert.”); see also Alsadi v. Intel Corp., 2019 WL 4849482, at *14 (D.

 Ariz. Sept. 30, 2019) (same). The citations to Dr. DeRamus in the summary judgment opposition

 should therefore be disregarded and an order entered providing that, if Dr. DeRamus is permitted

 to testify at all (and he should not be), he may do so only in Plaintiffs’ rebuttal case (if any).

    VI.      Professor Chandler’s Ecosystem Opinions Are Irrelevant and Unsupported.

          The States’ Response does little more than reiterate Dr. Chandler’s inadmissible opinions.

 Repetition does not show admissibility.

          Because the States cannot carry their burden to show that Professor Chandler’s “fairness”

 and “transparency” opinions are based on a reliable methodology, the States invent their own

 standards. Resp. at 34 (arguing he “sets forth the objective, concrete, and verifiable elements of a

 fair and transparent online auction”). This fails. To be admissible, Dr. Chandler’s opinions must

 be “the product of reliable principles and methods,” Fed. R. Evid. 702(c), and Dr. Chandler

 confirmed his opinions do not meet this standard. In fact, he disclaimed reliance on the industry

 standards for fairness and transparency that he teaches to university students, Mot. at 64-65, and



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 then invented an undisclosed and obviously inapplicable methodology in the middle of his

 deposition, id. at 67. The Response conjures an argument that the plainly inapplicable “CRISP-

 DM” methodology supports Dr. Chandler’s work, but concedes in the same breath that his reports

 do not mention it at all. Resp. at 35. Dr. Chandler’s disregard of the standards he claims apply in

 his field and his lack of an accepted industry methodology for the opinions he gives make them

 unreliable. Burleson, 393 F.3d at 583–84 (requiring “scientifically valid” methodology) (quoting

 Daubert, 509 U.S. at 592–93).

        The attempt to save Dr. Chandler’s conflict-of-interest opinions suffer the same failing.

 Mot. at 68-70. Whether Google had a conflict of interest by owning buy-side tools, a sell-side tool,

 and an exchange (it did not) is not probative of any “fact of consequence,” Fed. R. Evid. 402,

 because no DTPA statute makes a conflict of interest actionable. The bare assertion that a person

 with a conflict is “more likely to act unfairly or deceptively, and so knowing about the conflict has

 a tendency to make deception or unfair practices more likely,” Resp. at 39, goes nowhere: Dr.

 Chandler conceded it was no secret that Google operates tools and owns an exchange. It is also

 fundamental that, in a non-disclosure case, information that is already known cannot be the subject

 of deception. See, e.g., Patterson v. McMickle, 191 S.W.3d 819, 827 (Tex. App.—Fort Worth

 2006, no pet.). Finally, this opinion has no relevance to antitrust claims either, which the States

 admit by failing to argue otherwise. Compare Mot. at 70-71 (conflicts of interest are irrelevant to

 antitrust claim), with Resp. at 38-39 (omitting antitrust).

        Dr. Chandler’s recitation of online articles denigrating Google for acquiring businesses

 remains inadmissible hearsay. Mot. at 71-73. It is no answer to respond that Rule 703 allows

 experts to rely on hearsay. Resp. at 32. Rule 703 does not allow an expert to “simply transmit that

 hearsay to the jury,” United States v. Mejia, 545 F.3d 179, 197 (2d Cir. 2008), or “testify as a mere




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 conduit for others’ hearsay,” United States v. American Express Co., 2014 WL 2879811, at *17

 (E.D.N.Y. June 24, 2014). The Rule “was not intended to abolish the hearsay rule and to allow a

 witnesses, under the guise of giving expert testimony, to in effect become the mouthpiece” for

 inadmissible, out of court statements. In re Pearl Res. LLC, 2023 WL 8642303, at *3 (Bankr. S.D.

 Tex. Dec. 13, 2023). The States’ disclaimer of any antitrust relevance to Dr. Chandler’s recitation

 of Google’s acquisitions, Resp. at 33, leaves him with no basis to testify to hearsay articles at all.

        Finally, Dr. Chandler’s opinions on antitrust substitutability are inadmissible because they

 apply the wrong standards. Mot. at 73-75. He opines that goods are substitutable only if they are

 perfectly interchangeable, contradicting binding Fifth Circuit law. See Mot. at 74-75. The States

 ignore this problem by focusing on Dr. Chandler’s supposed “expertise,” but this does not show

 that Dr. Chandler applied the correct legal standard. Legal standards are policed by courts, not

 industry experts, and the Response does nothing to refute the proof that Dr. Chandler used the

 wrong legal standard. Mot. at 73-75. This opinion is irrelevant and should be excluded. See KB

 Home v. Antares Homes, Ltd., 2007 WL 1893370, at *9 (N.D. Tex. June 28, 2007) (finding

 testimony that “relies on an incorrect legal standard would confuse and mislead the jury”).

    VII.    Dr. Shafiq’s Opinions are Improper Rebuttals and Do Not Conform to Rule 702.

        Plaintiffs’ arguments in opposition to Google’s motion to exclude the testimony of Dr.

 Zubair Shafiq fail for at least four reasons. First, Plaintiffs concede that Dr. Shafiq, offered as an

 expert in computer science, fails to use his specific technical and specialized knowledge as is

 required under Rule 702. See Mot. at 79-81. The Response admits he did not perform any practical

 work, did not rely on any real-world data, and did not follow a scientific methodology. Resp. at

 82-84. Pressed about his lack of scientific work, Plaintiffs muster only Dr. Shafiq’s vague claim




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 that he relied on “verification testing,” which is not disclosed in his report, and a few peer-reviewed

 papers that are not tied to the evidence of this case. See id.

        Second, Plaintiffs do not dispute that Dr. Shafiq offers an opinion on Google’s subjective

 intent regarding Google’s justifications for the redaction of BDT files. Id. at 80-81. No law allows

 a witness to speculate as to the intent of any party. See Mot. at 79-81.

        Third, Plaintiffs argue that Dr. Shafiq offers rebuttal opinions. Resp. at 88. 6 This forbids

 their use in Plaintiffs’ case in chief or at summary judgment. See § V.B, supra. Unable to refute

 this, Plaintiffs urge that his untimely opinions should be allowed under Betzel v. State Farm Lloyds,

 480 F.3d 704 (5th Cir. 2007), see Resp. at 92-93, but the Betzel factors weigh in favor of exclusion.

 The case holds that exclusion is “particularly appropriate where the party has failed to provide an

 adequate explanation for their failure to identify their expert within the designated timetable.”

 Betzel, 480 F.3d at 707. Plaintiffs’ claim that they “realized after seeing Google’s expert reports

 that they needed opinions from a privacy expert,” Resp. at 93, does not negate that this issue is one

 on which they bear the burden of proof. And Plaintiffs themselves put privacy at issue in the Fourth

 Amended Complaint filed on May 5, 2023. See ECF No. 541. The remaining Betzel factors also

 weigh against the admissibility of his opinions. Dr. Shafiq’s improper rebuttal testimony cannot

 be “important,” since it raises issues that were not presented by any of Google’s experts. See Betzel,

 480 F.3d at 717. Google would also be prejudiced because it has not had a chance to properly

 respond to the new affirmative opinions. See id. 7 Exclusion is the appropriate remedy, see CEATS




 6
   These include opinions on “dark patterns”, privacy justifications, and that Google sells user data.
 As Google’s Motion to Strike argued, these are affirmative opinions directed to Plaintiffs’ case-
 in-chief. As such, they are (and remain) untimely affirmative opinions.
 7
   The Response complains that Google should have included Dr. Shafiq in its September Motion
 to Strike, ECF No. 613, but Google had not yet taken Dr. Shafiq’s deposition.

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 v. TicketNetwork, Inc., 2018 WL 453732, at *4 (E.D. Tex. Jan. 17, 2018), particularly where

 Plaintiffs have not presented a “less drastic remedy” to cure this prejudice. See Resp. at 93.

         Fourth, Plaintiffs admit Dr. Shafiq did not properly disclose the materials he relied upon.

 See Resp. at 94. Plaintiffs try to excuse this by again citing Betzel’s four-factor test for determining

 substantial justification or harm, which includes “the importance of the testimony” targeted by a

 motion to strike, id. at 92, then claiming that “the importance of his reliance” on the undisclosed

 materials is only “medium,” id. at 94. But that is not the test. Rule 26(b) requires full disclosure of

 “(i) a complete statement of all opinions the witness will express and the basis and reasons for

 them; (ii) the facts or data considered by the witness in forming them; [and] (iii) any exhibits that

 will be used to summarize or support them.” Fed. R. Civ. P. 26. Dr. Shafiq did not do so, so

 striking his opinions is the appropriate remedy.

     VIII. Professor Pathak’s Opinions Are Irrelevant to Any Issue.

         Realizing Professor Pathak offers no opinions relevant to their case in chief, Plaintiffs

 attempt to re-write his report through their Response. Now, the States claim that Professor Pathak

 has opinions on “market power, anticompetitive conduct, and anticompetitive effects.” Resp. at

 20. Tellingly, those words appear nowhere in Professor Pathak’s assignment, see Mot. Ex. 9

 (Pathak Rpt.) ¶ 2, or in his summary of opinions. He is plain: “I do not provide conclusions about

 whether Google’s conduct is anticompetitive,” and he “rel[ies] on Professor Gans’s findings on

 market power and market definition” as well as on “anticompetitive effects.” Id. ¶¶ 2, 8. Professor

 Pathak also offers no analysis of what is “deceptive” for DTPA claims, stating only that Google

 “lowered transparency.” Id. ¶ 20. 8




 8
  During his deposition, Professor Pathak confirmed that he was not offering any new opinions
 beyond what was included in his report. Mot. Ex. 38 (Pathak Depo. Tr.) at 311:22-24.

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        The Response all but admits Professor Pathak does not opine on the only issues relevant

 here; namely, whether Google’s conduct was anticompetitive or deceptive. See Resp. at 19, 22,

 (“Google argues that ‘just because a market does not function well and may be inefficient does not

 mean it is not competitive’... This is true enough”); id. at 25 (admitting Professor Pathak does not

 opine on what is “deceptive”). Instead, it argues his opinions should be allowed under the “low

 bar” set by Rule 401, which makes evidence relevant when “it has any tendency to make a fact

 more or less probable.” Id. at 20. This assumes the conclusion. Professor Pathak’s opinion does

 not make it “more probable” that a deceptive or anticompetitive act occurred. And the Response

 does not show that this evidence “fits” the facts, Daubert, 509 U.S. at 591, because the opinions

 discuss the Professor’s ideal world, not the elements Plaintiffs must prove at trial.

        Plaintiffs’ remaining defenses fail to show these opinions are admissible. First, Plaintiffs

 trot out Professor Pathak qualifications, Resp. at 20, which Google did not challenge. Second,

 Plaintiffs incorrectly claim that Google’s experts opine on the same topics as Professor Pathak.

 Resp. at 25. But Professors Milgrom’s and Baye’s assignments were to analyze Google’s auction

 features, including whether they have legitimate business justifications. They did not opine, as

 Professor Pathak seeks to do, on the irrelevant question of whether the market is optimally

 designed. Third, they claim that Professor Pathak’s testimony should be disregarded because his

 responses were merely “hypothetical.” Resp. at 23-24. But Professor Pathak was explaining the

 basis for the opinions in his report (i.e., asserting that his market design “aspiration” was to have

 one centrally planned market or that firms have an obligation to share their innovations with

 competitors). See Mot. at 93-94. All of this contradicts settled antitrust law, which favors

 competition (not central planning) and imposes no duty on any competitor to deal with another.

 See, e.g., Verizon Comm’ns., Inc. v., Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 411




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 (2004) (“There is no duty to aid competitors.”). All of Professor Pathak’s analysis rests on his

 irrelevant “efficient market design” opinion, so his opinions should be excluded in full.

    IX.      Plaintiffs Fail to Demonstrate That Professor Rudin Reliably Applied Her Theory
             To “Fit” The Facts Of This Case.

          Plaintiffs’ defense of Professor Rudin establishes that her theoretical opinions do not “fit”

 the facts of this case, are not reliable, and are not helpful to the jury. Professor Rudin’s opinions

 are about whether third-party participants in Google’s ad tech auctions—publishers, advertisers,

 and third-party ad tech tools—are capable of improving their outcomes in response to changes in

 Google’s auction designs. See Mot. Ex. 41 (Rudin Rpt.) ¶¶ 22-27. To reliably apply her stated

 expertise in machine learning to determine the capabilities of participants in Google’s auctions,

 one would expect Professor Rudin to analyze evidence from those third parties, but Professor

 Rudin does none of that, by her own admission. See Mot. at nn.78, 81. The Response, tellingly,

 provides no examples of Dr. Rudin examining relevant third-party evidence (documents, data, or

 testimony) of their views, needs, or practices regarding using machine learning to optimize.

 Instead, it: (i) asserts that Professor Rudin offered “extensive evidence,” Resp. at 102, but cites

 none of it; (ii) claims she applied her model “with remarkable detail and substantiation in

 evidence,” but doesn’t explain how; and (iii) claims she included “literally hundreds of citations”

 in her report, id. at 101-102, omitting that only one citation is to evidence from auction

 participants. The one third-party document Rudin does cite has nothing to do with that company’s

 use of machine learning or experimentation and does not support Rudin’s theory. See Mot. Ex. 41

 (Rudin Rpt.) n.177. Otherwise, all the evidence cited is from Google documents or generic public

 documents, not from auction participants. Further, Plaintiffs concede that Professor Rudin

 conducted no quantitative analysis of the transaction-level data in the record, Mot. at 105 & n.89,




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 and as to qualitative analysis, Plaintiffs cite only a single paragraph of her report, which in turn

 cites a single, inapposite Google document, Resp. at 104.

         Lacking evidence, Professor Rudin is left with only theory. Plaintiffs concede Professor

 Rudin does not opine on whether “advertisers and publishers actually did not succeed in using

 experiments,” but only whether they “could” use experiments to improve their outcomes. Id. This

 is raw speculation. Her theoretical, unsupported opinions are unreliable and should be excluded.

    X.      Plaintiffs Cannot Overcome the Fundamental Flaws in Professor Somayaji’s
            Opinions that Render them Inadmissible Ipse Dixit.

         Rather than address the fundamental flaws in Professor Somayaji’s opinions on

 “information imbalance,” Mot. at 110-24, Plaintiffs double down on his unreliable, unsupported

 conclusions, backfilling them with more ipse dixit, this time in the form of counsel’s argument.

 None of this satisfies Plaintiffs’ burden. Professor Somayaji’s opinions should all be excluded.

         Plaintiffs’ central argument is that Professor Somayaji’s opinions should be admitted

 because he shows that “Google’s ad-buying tools have access to far more information than other

 tools have.” Resp. at 109. But Professor Somayaji admitted that “the relevant question is not how

 much information one party has versus the other party,” but “whether the information is relevant

 to the decision being made.” Mot. Ex. 42 (Somayaji Depo. Tr.) at 198:21-199:3. Professor

 Somayaji conceded he did not even attempt to analyze the relevance of the particular data fields

 he suggests were shared only with Google’s buying tools. See Mot. at 113-114. Unable to point to

 anywhere in Professor Somayaji’s report where he establishes that the purported additional fields

 were relevant to auction outcomes for advertisers, Plaintiffs assert that he identified three

 categories of information that supposedly have “self-evident importance for advertisers”—an

 opinion never offered by Professor Somayaji. Resp. at 111. Nor did Plaintiffs offer sufficient

 foundation to admit his opinion that Google’s purported advantage impacted “which ads are


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 displayed.” Mot. Ex. 42 (Somayaji Depo. Tr.) at 235:16-236:23. Instead, Plaintiffs fail to identify

 even one impacted advertiser that was unable to optimize by experimenting, Resp. at 110, and

 instead assert, without citation, that the “millions (or billions) of auctions everyday” “necessarily

 entail” an impact. Id. at 112. Experts must provide a reasoned basis for their opinions, and attorney

 ipse dixit on top of expert ipse dixit will not do. See Hathaway, 507 F.3d at 318.

          Plaintiffs also claim that Google’s alleged “information advantage” makes it “difficult for

 any non-Google entities to conduct successful, helpful experiments.” Resp. at 109. This suffers

 from the same leap of logic that doomed Professor Somayaji’s original analysis: the relevant

 question is whether “different parties possess different knowledge or amounts of knowledge in the

 context of any given ad auction.” Mot. Ex. 43 (Somayaji Rpt.) ¶ 21. The mere fact that Google

 shared more information with its own buying tools does not lead to (or even support) a conclusion

 that its tools possess far more information than others do. To express a reliable opinion on that

 topic would require analyzing the overall information other tools possess, including from sources

 besides Google. Professor Somayaji admitted that he did not do that analysis, nor any analysis of

 the capabilities or data of any non-Google tool. Resp. at 114-15. This incomplete analysis lacks

 the “intellectual rigor that characterizes the practice of an expert in the relevant field,” Pipitone,

 288 F.3d at 244, and the Response offers nothing to fill the proof gap between the “Google only”

 data he considered and the ipse dixit conclusion he expressed about how Google compared to

 others he did not consider or analyze.

    XI.      Several of Professor Gans’s Opinions Should be Excluded.

          Google’s motion demonstrated that Professor Gans (1) misapplied standard methodologies

 when attempting to define ad buying tool markets; (2) miscalculated AdX’s share of the alleged




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 ad exchange market; and (3) impermissibly opined on Google’s motive and intent. Mot. at 124-

 36. Plaintiffs’ brief confirms that all of those flawed opinions should be excluded.

        First, Professor Gans failed to reliably apply the Hypothetical Monopolist Test (“HMT”)

 and the Brown Shoe factors when he tried to define separate markets for ad buying tools for small

 and large advertisers. Professor Gans’s purported HMT analysis is unreliable because it did not

 evaluate potential substitution by large advertisers. Mot. at 125-128. While recognizing that large

 advertisers account for at least a “reasonable proportion” of spending on so-called small advertiser

 buying tools and that providers of small advertiser buying tools would have to take into account

 how large advertisers would respond to a price increase, Professor Gans admitted that he did not

 analyze large advertiser responses. Mot. Ex. 51 (Gans Depo. Tr.) at 84:6-11, 87:6-88:2. Plaintiffs

 try to gloss over this gaping hole in Professor Gans’s HMT analysis with quibbles over “the right

 interpretation of an internal document” and speculation that “large advertisers use Google Ads to

 purchase search ads, not display ads,” Resp. at 11-12, but they cannot—and do not even try to—

 rebut Professor Baye’s showing that nearly         of indirect display ad spending on Google Ads

 comes from large advertisers, Mot. Ex. 54 (Baye Rpt.) fig. 18 (cited at Mot. at 127). Professor

 Gans’s failure to analyze responses by advertisers accounting for such significant display ad

 spending eviscerates his HMT analysis. 9

        Professor Gans’s Brown Shoe opinions suffer from additional flaws. Mot. at 129-31.

 Plaintiffs concede that “Google is correct” about many of the “overlap[s]” between buying tools

 for small and large advertisers, yet they maintain that small advertiser buying tools still have a



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  Plaintiffs also claim that two internal Google “experiments” indicate that their alleged markets
 pass the HMT. Resp. at 10. But the HMT evaluates customers’ likely responses to price increases
 above the competitive level;
                                 ; and Professor Gans did not identify a competitive benchmark for
 small advertiser buying tools.

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 single “peculiar characteristic”: they are “easy to use and manage.” Resp. at 13. But antitrust

 markets often include products that are not identical, 10 and Plaintiffs cite no precedent holding that

 products belong in separate markets when they are as admittedly similar as buying tools for small

 and large advertisers. Regarding “industry or public recognition,” Plaintiffs make no effort to

 justify Professor Gans’s reliance on a conversation that did not even address the views of the

 industry or the public. Mot. at 129-30. Instead, they assert generally that “other sections” of his

 report support his opinions, Resp. at 13-14, when the key section discussing “industry or public

 recognition” consists of only two sentences and relies exclusively on the off-topic conversation,

 Mot. Ex. 52 (Gans Rpt.) ¶¶ 233-34. Finally, with respect to “distinct prices,” Plaintiffs offer only

 distinctions that Professor Gans never made, Resp. at 14; Mot. at 130-31, and they cannot salvage

 his market-definition opinions by using their brief to put words in his mouth.

        Second, Professor Gans miscalculated AdX’s market share. See Mot. at 131-35. Plaintiffs

 do not deny that he made these mistakes. Resp. at 18. Neither estimate supports an inference of

 monopoly power, see Domed Stadium Hotel, Inc. v. Holiday Inns, Inc., 732 F.2d 480, 489 (5th Cir.

 1984) (requiring market share of “at least fifty percent” for monopolization), but Plaintiffs’ defense

 of these errors is doubly misleading. It omits that Professor Baye (1) was correcting a new and

 different calculation from Professor Gans’s rebuttal report (asserting AdX’s share was about

      ); and (2) made additional corrections before opining that a better estimate of AdX’s market




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    See, e.g., United States v. E. I. du Pont de Nemours & Co., 351 U.S. 377, 394 (1956) (“But
 where there are market alternatives that buyers may readily use for their purposes, illegal
 monopoly does not exist merely because the product said to be monopolized differs from others.
 If it were not so, only physically identical products would be a part of the market.”); New Orleans
 Ass’n of Cemetery Tour Guides & Cos. v. New Orleans Archdiocesan Cemeteries, 56 F.4th 1026,
 1038 (5th Cir. 2023) (rejecting alleged market for New Orleans cemetery tours because “other
 New Orleans historical site tours are reasonably interchangeable substitutes for cemetery tours”).

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 share would be          or less. See Mot. Ex. 55 (Baye Sur-Rebuttal Rpt.) ¶¶ 4-8, fig. 1. These are

 significant errors the Response does not refute. The opinion is unreliable and should be excluded.

        Plaintiffs now seek a third bite at the AdX-share apple with a new Gans Declaration. See

 Resp. Ex. 7. That declaration should be stricken as untimely: it offers new AdX market share

 estimates long after the deadline for Plaintiffs’ expert reports. See Avance v. Kerr-McGee Chem.

 LLC, 2006 WL 3484246, at *2, 6-7 (E.D. Tex. Nov. 30, 2006) (striking expert affidavit “attached

 to the briefing on the parties’ motions to exclude” expert opinions). Plaintiffs attempt to shift the

 blame to Google for supposedly “late” disclosures, Resp. at 15-16, but conveniently omit that

 Professor Baye pointed out the flaws in Professor Gans’s calculations months ago. Mot. Ex. 54

 (Baye Rpt.) ¶¶ 320-26; Mot. Ex. 55 (Baye Sur-Rebuttal Rpt.) ¶¶ 4-8. The belated submission of

 an entirely new opinion underscores one thing: all of the AdX market share estimates contained in

 Professor Gans’s timely reports are so unreliable that they must be abandoned. This requires the

 exclusion of all of the timely opinions.

        Third, Google highlighted how Professor Gans’s reports contain numerous improper

 opinions about Google’s motive and intent. Mot. at 135-36. The Response asserts that Professor

 Gans does not “actually plan[] to opine” about these issues, Resp. at 18, but they explicitly (and

 impermissibly) rely on his “intent” opinion to oppose summary judgment on Plaintiffs’ antitrust

 claims, Antitrust MSJ Resp. at 50 (citing Mot. Ex. 52 (Gans Rept.) ¶ 736). As a matter of law, an

 expert may not opine as to any party’s intent, Mot. at 14-17, so these opinions must be excluded.

    XII.    Conclusion

        For these reasons, and those set forth in Google’s opening brief, the Court should exclude,

 in whole or in part, the proffered expert opinions of Dr. Weinberg, Mr. Andrien, Dr. DeRamus,

 Professor Chandler, Dr. Shafiq, Dr. Pathak, Professor Rudin, Dr. Somayaji, and Professor Gans.




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Dated: December 23, 2024
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                                 CERTIFICATE OF SEALING

        I certify pursuant to Local Rule CV-5(a)(7)(B) that, on December 23, 2024, a motion to
 seal was filed, separately and immediately before this document was filed under seal.


                                                             /s/ Kathy D. Patrick *
                                                             Kathy D. Patrick




                                 CERTIFICATE OF SERVICE

         I certify that on December 23, 2024, this document was filed electronically in compliance
 with Local Rule CV-5(a) and notice was thereby served on all counsel who have consented to
 electronic service, per Local Rule CV-5(a)(3)(A). In addition, this sealed filing will be promptly
 served by email on counsel of record for all parties.

                                                             /s/ Kathy D. Patrick *
                                                             Kathy D. Patrick




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